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                                       September 24, 2024

VIA CM/ECF

The Honorable Joel H. Slomsky
United States District Judge for the
Eastern District of Pennsylvania
5614 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

       Re:     Bologna v. Krasner, et al., Civil Action No. 24-cv-3185

Dear Judge Slomsky:

         I write in response to Attorney Smith’s letter, dated September 20, 2024. Plaintiffs oppose
Mr. Smith’s proposal that the Byrne’s ethics opinion (the “Ethics Opinion”) and Defendants’
conflict waivers (“Waivers”) be submitted to the Court for in camera review only.

       As set forth fully in Plaintiffs’ Response in Opposition to Defendants’ Motion for
Extension of Time (See Docket No. 16), before the Court is a troubling issue regarding the
inherent conflict of interest: Attorney Smith seeks to represent Defendants Tripp and Rocks as
well as Krasner despite the fact that they each have defenses which are directly adverse to one
another. This conflict is magnified by the fact that Krasner is a longtime client of Attorney Smith
and has never represented either Tripp or Rocks in the past. This conflict may be non-waivable.
See PA ST RPC Rule 1.7.

       On August 13, 2024, the Parties attended a teleconference during which the Court
addressed the conflict of interest. The Court ordered that Defendants Tripp and Rocks each obtain
an expert opinion from ethics counsel advising whether such conflict may be waived by informed
consent. Your Honor further Ordered that following the submission of the expert opinion an
evidentiary hearing would be held to evaluate the opinion and the validity of any proposed
informed consent waivers. The Court’s Order is consistent with this Court’s precedent. U.S. v.
Luchko, Criminal Action No. 06-319, at *6 (E.D. Pa. Nov. 9, 2006) (Upon Motion by the United
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States, a hearing was held to address possible conflicts of interest with defense counsel under
Rule 1.7.) The upcoming hearing is crucial to determining if Defendants’ proposed Waivers are
legally valid. U.S. v. Borgesi, Criminal Action No. 99-0363-07, at *1 (E.D. Pa. Oct. 11, 2000)
(The court rejected defendants informed consent waiver and disqualified counsel, finding there
was an “unwaivable conflict.”) 1

        Plaintiffs have standing to review the Ethics Opinion and Waivers. The party seeking to
disqualify opposing counsel bears the burden of showing that continued representation would be
impermissible. Inorganic Coatings, Inc. v. Falberg, 926 F. Supp. 517, 518 (E.D. Pa. 1995). As
such, Plaintiffs have standing to cross-examine Defendants and ethics counsel regarding the
Ethics Opinion and Waivers that purport to resolve the conflict. If the Ethics Opinion is erroneous
and the conflict cannot be waived, then any verdict the Plaintiffs obtained at trial would be
reversable. Com. v. Green, 379 Pa. Super. 602, 604, 550 A.2d 1011, 1012 (1988) (the trial court’s
ruling affirmed ordering a new trial due to a violation of Rule 1.7.) Under the common
representation doctrine, at trial each of the Co-Defendants would be precluded from providing
complete and honest testimony vital to the prosecution of Plaintiffs’ claims if that testimony
conflicted with Attorney Smith’s other clients. Id. The longer the concurrent conflict persists the
more likely this litigation will ultimately result in a mistrial, further impacting Plaintiffs’ right to
relief. For these reasons, and as recognized by this Court’s precedent, Plaintiffs have a right to
ensure this matter is fully and fairly prosecuted, which necessarily requires a resolution to
Defendants’ concurrent conflict of interests.

         Plaintiffs’ ability to challenge and scrutinize the Ethics Opinion and Waivers is also
necessary for the Court to reach an informed decision whether to partially disqualify Attorney
Smith from joint representation. “A presumptive right to counsel of one's choice has been
recognized as arising out of the Sixth Amendment.’ However, this presumption is only that, and
may be overcome ‘not only by a demonstration of actual conflict but by a showing of serious
potential for conflict.’ Determining whether such a conflict exists under this standard ‘must be
left primarily to the informed judgment of the trial court.’ However, as noted by the Third Circuit,
this ‘is no simple task . . . [t]he likelihood and dimensions of nascent conflicts of interest are
notoriously hard to predict, even for those thoroughly familiar with criminal trials." U.S. v.
Luchko, Criminal Action No. 06-319, at *6 (E.D. Pa. Nov. 9, 2006) (citations omitted).

        Here, Your Honor is tasked with evaluating any actual or potential conflicts arising from
Defendants’ joint representation. The Court has Ordered an evidentiary hearing to scrutinize the
Ethics Opinion and Waivers obtained by Tripp and Rocks. The Court will be limited in reviewing
the completeness and validity of the Waivers if Plaintiffs are precluded from cross-examining
ethics counsel as to the findings that form the basis of his Opinion.




1
    Copies of the relevant opinions cited have been enclosed herewith for the Court’s review.
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        Attorney Smith cites to the attorney client privilege as a basis to preclude production of
the Ethics Opinion and Waivers. This argument is misplaced. “A litigant cannot shield from
discovery the knowledge it possessed by claiming it has been communicated to a lawyer; nor can
a litigant refuse to disclose facts simply because that information came from a lawyer.” Rhone-
Poulenc Rorer, Inc. v. Home Indemnity Co., 32 F.3d 851, 864 (3d Cir. 1994) (ultimately
determining that “Because some documents may contain both discoverable and privileged
information it would be appropriate, if not too burdensome, to redact them accordingly.”) Here,
the Ethics Opinion and Waivers are necessarily based on the Defendants’ knowledge and
informed waiver of actual and potential conflicts arising from their joint representation.
Defendants’ knowledge is directly at issue and is not protected by the attorney client privilege.
Therefore, to the extent necessary, the Ethics Opinion should be redacted so as to maintain
attorney client privilege while disclosing the facts and knowledge that make the basis of
Defendants’ informed consent.

       Accordingly, Plaintiffs’ respectfully request that this Court issue an Order scheduling the
evidentiary hearing and production of the Ethics Opinion and Waivers.

                                                    Respectfully submitted,

                                                    BOCHETTO & LENTZ, P.C.

                                             By:    /s/ George Bochetto
                                                    George Bochetto, Esquire
GB:mt
Enclosure

cc:    David Smith, Esquire (Via Court’s ECF System)
       Benjamin T. Jackal, Esquire (Via Court’s ECF System)
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                                                                                 U.S. v. Luchko
                                                               United States District Court, E.D. Pennsylvania   Nov 9, 2006


                                                                    Criminal Action No. 06-319 (E.D. Pa. Nov. 9, 2006)




                                  Criminal Action No. 06-319.

                                  November 9, 2006


                                  Memorandum and Order

                                  WILLIAM YOHN JR., District Judge

                                  The United States moved for a hearing regarding possible conflicts of interest in the representation of defendants
                                  Leonard P. Luchko and Mark C. Eister ("defendants"). After considering the government's motion, the
                                  defendants' responses in opposition thereto, and the government's reply, the court held a hearing on October 12,
                                  2006 to determine the extent of any actual or potential conflicts of interest that could serve as a basis for
                                  disqualifying one or both of the defendants' attorneys, and to colloquy the defendants as to a waiver of any such
                                  conflict. For the reasons stated herein, the court finds that any actual or potential conflict has been sufficiently
                                  waived by each defendant and the court will not disqualify either defendant's attorney based on a conflict of
                                  interest.

                                  I. Background
                                  Defendants were indicted for conspiracy to obstruct justice and substantive counts of obstruction of justice,
                                  arising out of their employment with the State Senate of Pennsylvania ("Senate"). James C. Schwartzman, Esq.,
                            2     of Stevens Lee., P.C., represents defendant Luchko; *2 Brian J. McMonagle, Esq., of McMonagle, Perri McHugh,
                                  represents defendant Eister. Both parties agree that while the defendants were employees of the Senate of
                                  Pennsylvania, the Senate paid for defendants' counsel. (Gov't's Mot. at 1; Luchko's Answer at 4, 28; Eister's
                                  Answer at 4.) The government contends, however, that this payment was in reality effectuated by the Senate
                                  Democratic Appropriations Committee, an entity controlled by the Senator who is the primary target of the
                                  overall investigation. (Gov't's Mot. at 1, 3.) The parties also disagree as to how the defendants chose their
                                  counsel. The government believes that Sprague and Sprague, counsel for the Senator, chose the attorneys for the
                                  defendants, all of whom then entered into a joint defense agreement. ( Id.) Defendant Luchko maintains that
                                  Schwartzman was suggested to him by other Senate employees, including individuals who work for the Senator.
                                  (Luchko's Answer at 4, 28.) McMonagle was first contacted by Mark Cedrone, Esq., a well-known member of
                                  the criminal bar, who stated he was recommending McMonagle to represent Eister. McMonagle was then
                                  contacted by someone from Sprague and Sprague, the law firm that represents the Senator, who recommended
                                  him to Eister. At the hearing,
                                                        hearing Eister explained that he then researched McMonagle's reputation using the internet.

                                  Both attorneys Schwartzman and McMonagle warrant that their receipt of funds from the Senate satisfies the
                                  dictates of the Pennsylvania Rules of Professional Conduct, as adopted, Local Rule of Civil Procedure 83.6 and
                                  Local Rule of Criminal Procedure 1.2. In other words, they aver that payment of their legal fees by a third party
                                  would not interfere with either attorney's professional judgment. (Luchko's Answer at 6, 16; Eister's Answer at 5.)
                                  Both attorneys also stated that they discussed this matter with their respective clients. (Luchko's Answer at 6, 16;
                            3     Eister's Answer at 5.) *3

                                  After the defendants were indicted and promptly resigned from their employment with the Senate on May 31,
                                  2006, the Senate ceased paying their legal bills. A legal defense trust fund ("trust") was created to pay the legal
                                  bills of the defendants. (Luchko's Answer at 6, 17; Def.'s Supp. Br. at 1.) The government believes the Senator
                                  may be engaged in the effort to create the trust and to raise money for the trust to pay the defendants' attorney
                                  fees. (Gov't's Mot. at 4; Gov't's Supp. Br. at 3-4.) At the hearing,
                                                                                              hearing Schwartzman revealed that this trust is
                                  administered by three independent trustees, J. Whyatt Mondesire, Robert Curran, Esq., and Rhonda Cohen, Esq.,
                                  and that Ralph Teti, Esq., is counsel for the trust. Both defense attorneys averred that, to date, they have not
                                  accepted payment from the trust fund, and do not know how, or by whom, the trust was being funded. At the
                                  hearing, McMonagle, Eister's attorney, requested appointment as Eister's attorney pursuant to the Criminal
                                  hearing
                                  Justice Act ("CJA"), as an alternative to payment by the trust fund, as Eister is not currently employed. He stated
                                  that with such appointment he would neither request nor accept any money from the trust. Since that time, the


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                                  court has appointed McMonagle as a CJA attorney. Schwartzman did not make a similar request, as he did not
                                  believe the legal defense fund posed an unwaivable conflict and because Luchko is currently employed so that it
                                  was not likely that he would qualify for a CJA attorney.

                                  The government has also asserted two other sources of potential conflict related to Schwartzman: Schwartzman's
                                  concurrent representation of "Witness A" and the Senator's involvement with Schwartzman's law firm, Stevens
                                  Lee. In Luchko's answer, Schwartzman explained that at the time Luchko retained Schwartzman, Schwartzman
                                  also represented Witness A, a non-target fact witness in the investigation. (Luchko's Answer at 4.) Schwartzman
                            4     determined that there would not be a conflict in representing both Luchko and Witness A; *4 discussed the matter
                                  with both clients; and informed Assistant United States Attorney John Pease of the dual representation, to which
                                  Pease agreed that "there was not even a remote possibility of any conflict." ( Id. at 5.) The government admits
                                  that it originally believed that Witness A had no relevant information regarding defendant Luchko but, based on
                                  an email that was not previously available and only recently provided to investigators by a cooperating witness,
                                  may now call Witness A as a witness at Luchko's trial. (Gov't's Reply at 6). That would place Schwartzman in the
                                  position of cross-examining a former client at the trial of another client. At the hearing
                                                                                                                     hearing, the government explained
                                  that calling Witness A was only a possibility. Schwartzman also let it be known that as soon as he learned of any
                                  potential for conflict based on that email, he advised Witness A to retain separate counsel, which Witness A has
                                  done. He affirmed that he has not received any confidential information from Witness A regarding the email at
                                  issue.

                                  Second, the government posited that the Senator and the bank of which he is the chairman and the single largest
                                  shareholder are both clients of Stevens Lee, Schwartzman's law firm. ( Id. at 7.) Schwartzman explained that as
                                  far as he is aware, the Senator is not represented by Stevens Lee in his individual capacity. The law firm does,
                                  however, represent the bank of which the Senator is Chairman of the Board and a large shareholder; the Senator
                                  will stand to receive a large sum of money when the current proposed sale of this bank is completed.

                                  The government has highlighted its particular concern that it may be in the best interest of defendants to
                                  cooperate, but such cooperation may be adverse to the Senator's interest. The government has informed attorneys
                                  for the defendants that it is interested in engaging in a proffer with either defendant or both. Both attorneys have
                            5     maintained the request for their clients to *5 receive immunity or a guarantee of probation in return for
                                  cooperation, but the government has rejected that request, at least until after a proffer has been made by the
                                  individual defendants.

                                  At the hearing on October 12, the court engaged in a colloquy with both defendants wherein they each
                                  knowingly, intelligently and voluntarily waived conflicts related to the Senate's payment of their legal fees during
                                  their employment with the Senate. Defendant Luchko also knowingly, intelligently and voluntarily waived any
                                  actual or potential conflict related to Stevens Lee's representation of the bank and the payment of Schwartzman's
                                  legal fees by the legal defense fund. Given the lack of specific information concerning the Senator's involvement
                                  with the legal defense fund, the court presented the matter to Luchko for waiver using hypothetical facts — that
                                  the Senator created the trust fund and is heavily involved in the trust fund by soliciting contributions for the fund
                                  or his friends are donors to the fund. The government did not object to the court's acceptance of all waivers, but
                                  believed the issue of the legal defense fund remained problematic. The court ordered both parties to file
                                  supplemental briefs on the issue of the legal defense fund and the propriety of such a fund in the instant matter.

                                  II. Standard
                                  The Third Circuit has made clear that "[t]he Sixth Amendment guarantee of effective assistance of counsel
                                  includes two correlative rights, the right to adequate representation by an attorney of reasonable competence and
                                  the right to the attorney's undivided loyalty free of conflict of interest." United States v. Moscony, 927 F.2d 742,
                                  748 (3d Cir. 1991) (citations omitted). "However, another right is derived from the right to effective assistance of
                            6     counsel, for the `the right to counsel being conceded, a defendant should be afforded a fair opportunity to *6
                                  secure counsel of his own choice.'" Moscony, 927 F.2d at 748 (citing Powell v. Alabama, 287 U.S. 45, 53 (1932)).
                                  "Thus a presumptive right to counsel of one's choice has been recognized as arising out of the Sixth
                                  Amendment." Moscony, 927 F.2d at 748 (citing Wheat v. United States, 486 U.S. 153, 159 (1988)). However, this
                                  presumption is only that, and may be overcome "not only by a demonstration of actual conflict but by a showing
                                  of serious potential for conflict." Wheat, 486 U.S. at 164; Moscony, 927 F.2d at 750. Determining whether such a
                                  conflict exists under this standard "must be left primarily to the informed judgment of the trial court." Wheat, 486
                                  U.S. at 164. However, as noted by the Third Circuit, this "is no simple task . . . [t]he likelihood and dimensions of
                                  nascent conflicts of interest are notoriously hard to predict, even for those thoroughly familiar with criminal
                                  trials." United States v. Voight, 89 F.3d 1050, 1076 n. 12 (3d Cir. 1996) (citing Wheat, 486 U.S. at 162-63).

                                  "The district court's power to disqualify an attorney derives from its inherent authority to supervise the
                                  professional conduct of attorneys appearing before it." United States v. Miller, 624 F.2d 1198, 1201 (3d Cir.
                                  1980). The Supreme Court has held, "Federal courts have an independent interest in ensuring that criminal trials
                                  are conducted within the ethical standards of the profession and that legal proceedings appear fair to all who
                                  observe them," thus the district court may even override a defendant's waiver of his attorney's conflict of interest.
                                  Wheat, 486 U.S. at 160. The Pennsylvania Rules of Professional Conduct, 204 Pa. Code § 81.4 ("RPC"), provide
                                  a guide for considering whether ethical standards have been maintained in a given situation. See In Re Grand
                                  Jury Investigation, 2006 U.S. Dist. LEXIS 57756, at *11 (E.D. Pa. May 16, 2006) (finding that the RPC provide

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                                  a useful template against which to measure the conduct of lawyers subject to a disqualification motion); United
                            7     States v. Stout, 723 F. Supp. 297, *7 303 (E.D. Pa. 1989) (using RPC to determine ethical considerations
                                  governing disqualification motion). The Local Rules of Civil and Criminal Procedure for the Eastern District of
                                  Pennsylvania require attorneys practicing in the district to comply with the RPC. Local R. Civ. P. 83.6; Local R.
                                  Crim. P. 1.2. However, "[t]he disqualification of a defendant's chosen counsel need not be . . . predicated on a
                                  finding of a specific RPC violation." Voight, 89 F.3d at 1076 n. 12. "The district court has independent interests in
                                  protecting its judgments against later collateral attack, preserving the integrity of its proceedings, and protecting
                                  the truth-seeking function of the proceedings." Id. at 1076 (citations omitted). Therefore, a court must investigate
                                  allegations of possible impropriety surrounding the representation of defendants to determine whether there is
                                  any conflict of interest and whether, even if such a conflict is waived, the court is obligated to disqualify either
                                  defendant's attorney.

                                  III. Third Party Payment of Legal Fees
                                  The Supreme Court has acknowledged "the inherent dangers that arise when a criminal defendant is represented
                                  by a lawyer hired and paid by a third party . . . One risk is that the lawyer will prevent his client from obtaining
                                  leniency by preventing the client from offering testimony against his former employer or from taking other
                                  actions contrary to the employer's interest." Wood v. Ga., 450 U.S. 261, 268-269 (1981). The Court quoted with
                                  approval a state court case, stating "it is also inherently wrong for an attorney who represents only the employee
                                  to accept a promise to pay from one whose criminal liability may turn on the employee's testimony." Id. at 269 n.
                                  15 (quoting In re Abrams, 266 A. 2d 275, 278 (N.J. 1970)); see also, United States v. Chapman, 1999 U.S. Dist.
                            8     LEXIS 13675, at *9 (E.D. Pa. Sept. 8., 1999) *8 (disqualifying defendant's attorney after finding that the attorney
                                  "would be placed in the position of counselling [sic] a potential witness to provide evidence adverse to the person
                                  who is the source of the money used to pay his professional fee").

                                  RPC 1.7 and 1.8 are the relevant ethical rules for ascertaining whether the lawyer has a conflict based on his
                                  relationship with a third party. RPC 1.7 provides:

                                       (a) Except as provided in paragraph (b), a lawyer shall not represent a client if the representation involves
                                       a concurrent conflict of interest. A concurrent conflict of interest exists if:

                                       (1) the representation of one client will be directly adverse to another client; or

                                       (2) there is a significant risk that the representation of one or more clients will be materially limited by the
                                       lawyer's responsibilities to another client, a former client or a third person or by a personal interest of the
                                       lawyer.

                                       (b) Notwithstanding the existence of a concurrent conflict of interest under paragraph (a), a lawyer may
                                       represent a client if:

                                       (1) the lawyer reasonably believes that the lawyer will be able to provide competent and diligent
                                       representation to each affected client;

                                       (2) the representation is not prohibited by law;

                                       (3) the representation does not involve the assertion of a claim by one client against another client
                                       represented by the lawyer in the same litigation or other proceeding before a tribunal; and

                                       (4) each affected client gives informed consent.

                                  § 81.4 (Rule 1.7) (emphasis added). However, RPC comments make clear: "In some cases, the risk may be so
                                  severe that the conflict may not be cured by client consent." § 81.4 (Rule 1.10, cmt. 6). Rule 1.8(f) deals more
                                  directly with the situation where a lawyer receives payment for representing one client from a third party:

                                       (f) A lawyer shall not accept compensation for representing a client from one other than the client unless:

                                       (1) the client gives informed consent;

                                       (2) there is no interference with the lawyer's independence of professional judgment or with the client-
                                       lawyer relationship; and

                            9     *9
                                       (3) information relating to representation of a client is protected as required by Rule 1.6.1
                                          1 Rule 1.6 concerns duty of confidentiality of information and exceptions thereto.


                                  § 81.4 Rule 1.8(f). The comments to Rule 1.8 state:

                                       Because third-party payers frequently have interests that differ from those of the client, including interests
                                       in minimizing the amount spent on the representation and in learning how the representation is
                                       progressing, lawyers are prohibited from accepting or continuing such representations unless the lawyer
                                       determines that there will be no interference with the lawyer's independent professional judgment and
                                       there is informed consent from the client.

                                  § 81.4 (Rule 1.8, cmt. 11).

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                                  A. Senate's Payment of Defendants' Legal Fees
                                  Luchko asserts that the "Senate has a long standing policy of paying for its employees to retain the counsel of
                                  their choice to represent the employees in matters arising from performance of the employee's job" (Luchko's
                                  Answer at 13) and, moreover, that this practice is commonplace across the United States ( Id. (citing United
                                  States v. Stein, 435 F. Supp. 2d 330, 335 (S.D.N.Y. 2006).) Counsel for both defendants have affirmed in their
                                  papers and before the court that their representation meets the dictates of RPC 1.6, 1.7 and 1.8. (Luchko's Answer
                                  at 13; Eister's Answer at 5.) Both defendants have knowingly, intelligently and voluntarily waived any actual or
                                  potential conflict relating to this time period. Given that it is the standard practice of the Pennsylvania Senate to
                                  pay the legal bills of all of its employees when they are under investigation for actions arising out of their
                                  employment, even if the Senator had to approve or initiate payments via his role as Chair of the Democratic
                                  Appropriations Committee, the court finds that there is no actual or potential conflict of interest with regard to
                            10    the standard procedures *10 and, to the extent there is, the waivers of both Luchko and Eister are sufficient to
                                  overcome any actual or potential conflict, and are accepted.

                                  B. The Payment of Defendant Luchko's Legal Fees by the Legal Defense Fund
                                  At this time, a legal defense trust fund has been established to pay the legal fees of defendants Luchko and Eister.
                                  As Eister's attorney has been appointed as a CJA attorney whose fees will be paid by the federal government for
                                  his representation after May 31, 2005, any conflict stemming from the legal defense fund is moot in regard to
                                  Eister. The government believes the legal defense fund's payment of fees for Luchko is akin to the direct payment
                                  of legal fees by a third party whose interests are adverse to the beneficiary of those payments. (Gov't's Supp. Br.
                                  at 3.) In other words, the establishment of a trust fund does not change the calculus. ( Id.) Schwartzman contends
                                  that any acceptance of fees from the trust will satisfy the dictates of Rule 1.8(f). (Def's Supp. Br. at 3.) Further,
                                  the Senator would not be the person authorizing payments, but rather it would be the independent trustees who
                                  have a fiduciary duty to Luchko as beneficiary of the trust. ( Id. at 4.) Schwartzman also avers that he discussed
                                  all of the relevant issues with Luchko such that Luchko could make an informed determination as to whether he
                                  would permit the legal defense fund to pay any portion of his legal fees. ( Id.) Specifically, Schwartzman states:

                                       Luchko has a fee agreement obligating Luchko (and Luchko alone) to pay fees incurred in the defense of
                                       the instant matter. However, Schwartzman has discussed with Luchko the relevant factors necessary for
                                       Luchko to make an informed determination regarding whether Luchko wants to authorize the trust fund to
                                       pay any portion of his legal fees. Specifically, [Schwartzman] explained (i) the trust fund would not
                                       exercise any control or influence over the representation, (ii) Schwartzman would not accept any fees
                                       from the fund if payment is conditioned on Luchko or Schwartzman taking any certain position in
                                       Luchko's defense, and (iii) Schwartzman has no duty of loyalty to the trust fund, the trustees or any
                            11         contributors to or promoters *11 of the fund (the identities of whom, if any exist, are at this point
                                       unknown to Schwartzman). Instead Schwartzman has undivided loyalty to Luchko.

                                  ( Id. at 5)

                                  As it would be naive to believe the Senator has had no involvement in setting up or soliciting contributions to the
                                  trust, and since he is a possible co-defendant in this case, there is an actual conflict of interest should
                                  Schwartzman accept payment of legal fees from the trust fund. However, the court finds that Schwartzman has
                                  diligently adhered to the dictates of the RPC in dealing with this matter and has done everything to satisfy his
                                  ethical obligations up to this point. Cf. Moscony, 927 F.2d at 742 ("When a trial court finds an actual conflict of
                                  interest which impairs the ability of a criminal defendant's chosen counsel to conform to with the ABA Code of
                                  Professional Responsibility, the court should not be required to tolerate an inadequate representation of a
                                  defendant."). Moreover, the court is confident that Schwartzman will not permit an interference of his
                                  professional judgment or with the attorney-client relationship in the future, and will not receive fees from the
                                  legal defense fund should the receipt of such funds cause him to violate any RPC, notably Rule 18(f).
                                  Specifically, I find that Schwartzman has and will continue zealously to respect his client's interests and give
                                  unbiased advice regarding the benefits of cooperating against other potential defendants regardless of the source
                                  of his payments. In short, payment from the trust will not adversely effect his performance.

                                  Additionally, the court engaged in a lengthy colloquy with Luchko wherein Luchko knowingly, intelligently and
                                  voluntarily waived any potential conflict relating to this legal defense fund, even assuming the Senator has
                                  created the trust fund and is heavily involved in securing payments for it. The court also notes that the
                                  government is satisfied with Schwartzman's representations and Luchko's waiver, and does not oppose the court's
                            12    exercise of *12 its discretion in accepting Luchko's waiver. (Gov't's Supp. Br. at 10.) Thus, the court finds that
                                  Luchko has given his informed consent and the court will accept Luchko's knowing, intelligent and voluntary
                                  waiver and will not disqualify Schwartzman.

                                  IV. Schwartzman's Representation of Witness A
                                  Schwartzman represents Witness A, whom the government now says it may call as a witness at defendant
                                  Luchko's trial. The comments to Rule 1.7 state: "[A] directly adverse conflict may arise when a lawyer is
                                  required to cross-examine a client who appears as a witness in a lawsuit involving another client, as when the
                                  testimony will be damaging to the client who is represented in the lawsuit." § 81.4 (Rule 1.7, cmt. 6). A similar
                                  situation was the subject of United States v. Wheat, 486 U.S. 153 (1988), where the Supreme Court held that the

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                                  defendant was not entitled to counsel of his choice where that attorney also represented a witness the government
                                  intended to call at trial. Wheat, 486 U.S. at 164. The attorney, because of his prior representation of the witness,
                                  "would have been unable ethically to provide that cross examination," even in the face of a waiver by all relevant
                                  parties. Id.

                                  The Third Circuit has likewise proscribed such a situation, stating that "[c]onflicts of interest arise whenever an
                                  attorney's loyalties are divided, and an attorney who cross-examines former clients inherently encounters divided
                                  loyalties." Moscony, 927 F.2d at 750. The court in that case went on to hold that the district court had properly
                                  disqualified the defendant's trial counsel, finding that the attorney could have used information learned from
                                  former clients to cross-examine and impeach them at trial. Id. A similar situation arose in Voight where the
                            13    attorney had represented two clients for the purposes of responding to grand jury subpoenas, *13 before he
                                  represented the defendant. Voight, 89 F.3d at 1078. One of those former clients was likely to testify at the
                                  defendant's trial thus, "there was a strong possibility that [the former client] might face cross examination by a
                                  former attorney [and] there was a serious potential for a conflict of interest, which . . . warranted
                                  disqualification." Id.

                                  On the other hand, the court found a distinguishable situation in United States v. Hawkins, U.S. Dist. LEXIS
                                  17732 (E.D. Pa. Aug. 26, 2004). In that case, the government moved to disqualify the defendant's counsel on the
                                  ground that the attorney had previously represented the defendant's secretary when she was called before the
                                  grand jury and now the government planned to call the secretary at trial. Hawkins, U.S. Dist. LEXIS 17732, at
                                  **3-6. The court declined to disqualify the attorney, finding that the secretary's testimony was peripheral and the
                                  government did not assert that it was relying on it "completely or even substantially" to prove the falsity of the
                                  defendant's testimony. Id. at *19. The court additionally found two other considerations supporting its decision
                                  not to disqualify. First, the secretary did not join in the motion to disqualify, but had waived any conflict, thereby
                                  counseling against disqualification because "courts should be hesitant to grant a motion to disqualify defense
                                  counsel when the witness, whose interests the government is supposedly protecting, does not demand
                                  disqualification in order to protect those interests." Id. at **22-23 (citations omitted). And second, co-counsel
                                  who had not previously represented the secretary would cross-examine her at trial, rather than the attorney who
                                  had formerly represented her. Id.

                                  At this time, the government represents that calling Witness A at Luchko's trial is only a possibility and testimony
                                  would regard a matter unrelated to Schwartzman's representation of Witness A. The government now asserts that
                            14    this matter should be deferred pending future *14 developments to determine whether Witness A will be called to
                                  testify and, if so, as to what issues. Witness A has retained new counsel and Schwartzman has certified that he has
                                  not obtained any confidential information from Witness A that relates to his representation of Luchko.
                                  Schwartzman, Witness A and Luchko are all aware of the contents of the email in question and see no connection
                                  between that email and Schwartzman's representation of Witness A. Therefore, the court finds the situation to be
                                  akin to that in Hawkins because the government has not yet determined with any certainty whether it will call
                                  Witness A, the testimony appears to be peripheral, Schwartzman has not obtained confidential information that
                                  would compromise a cross-examination of Witness A, and Witness A has retained alternate counsel. Thus, the
                                  court does not find a conflict warranting disqualification at this time. Should the government decide to call
                                  Witness A at Luchko's trial and should his testimony present a conflict, the court may revisit this matter.

                                  V. Stevens Lee's Representation of the Senator
                                  The imputation of conflicts of interest to lawyers in a law firm is governed by RPC 1.10. In relevant part:

                                       (a) While lawyers are associated in a firm, none of them shall knowingly represent a client when any one
                                       of them practicing alone would be prohibited from doing so by Rules 1.7, or 1.9 . . .

                                       ...

                                       (d) A disqualification prescribed by this Rule may be waived by the affected client under the conditions
                                       stated in Rule 1.7.

                                  § 81.4 (Rule 1.10). The comments further illuminate the rule stating, "The rule in paragraph (a) does not prohibit
                                  representation where neither questions of client loyalty nor protection of confidential information are presented."
                            15    § 81.4 (Rule 1.10, cmt. 3). Further, "the law firm may *15 not represent a person with interests adverse to those of
                                  a present client of the firm, which would violate rule 1.7." § 81.4 (Rule 1.10, cmt. 5).

                                  Schwartzman joined the firm of Stevens Lee in 2005. The firm has more than 180 attorneys. Schwartzman
                                  asserted that the firm's representation of the Senator is limited to its representation of the bank of which he is the
                                  chairman and largest shareholder and it does not represent the Senator in his individual capacity. Schwartzman
                                  himself has no involvement with the firm's representation of the bank. Further, once the sale of the bank takes
                                  place, there will be no relationship between Stevens Lee and the Senator. The court engaged in a colloquy with
                                  Luchko regarding any potential for conflict based on the firm's representation of the bank, and Luchko
                                  knowingly, intelligently and voluntarily waived any conflict. The government agrees that the waiver is sufficient
                                  to waive any possible conflicts of interest on this issue. The court accepts this waiver and will not disqualify
                                  Schwartzman.

                                  VI. Conclusion
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                                  While cognizant that "[c]onflicts of interest arise whenever an attorney's loyalties are divided," see Moscony, 927
                                  F.2d at 750, the court does not find any actual or potential conflict that overcomes the presumption that a
                                  defendant is entitled to counsel of his choice, as to either defendant Luchko or Eister. If, however, at any time in
                                  the future, defendant Luchko himself feels he is not receiving the independent professional judgment of his
                                  attorney or that it has been interfered with, or that he himself cannot act independently, he may petition the court
                            16    for a change of counsel. An appropriate order follows. *16

                                  ORDER
                                  AND NOW, this day of November, 2006, upon consideration of the government's motion for hearing regarding
                                  possible conflicts of interest (Document No. 21), the defendants' responses, the hearing held on October 12, 2006
                                  and the supplemental briefs by the parties thereafter, IT IS HEREBY ORDERED that:

                                  1. The government's motion for a hearing is GRANTED, the hearing having been held on October 12, 2006.

                                  2. There is no actual or potential conflict of interest with reference to the payment of defendants' legal fees by the
                                  Pennsylvania Senate in accordance with its standard practice during the time that defendants were employed by
                                  that body and, to the extent that there is any such conflict, both defendant Luchko and defendant Eister have
                                  knowingly, intelligently and voluntarily waived the same, which waiver the court accepts.

                                  3. Counsel for defendant Eister, Brian J. McMonagle, has been or will be paid by the federal government as a
                                  CJA lawyer for the time that he has represented defendant Eister since the termination of Eister's employment by
                                  the Pennsylvania Senate so that there is no actual or potential conflict of interest with reference to McMonagle's
                            17    representation of defendant *17 Eister and, to the extent there is, defendant Eister has knowingly, intelligently and
                                  voluntarily waived any such conflict, which waiver the court accepts.

                                  4. The payment of Luchko's legal fees by the legal defense trust fund constitutes an actual conflict of interest.
                                  However, the court finds that defendant Luchko has knowingly, intelligently and voluntarily waived any actual or
                                  potential conflict of interest on the basis that the Senator (a potential co-defendant) is or may be substantially
                                  involved in establishing the trust fund and soliciting payments to the trust fund, which waiver the court accepts.
                                  The court further finds that Luchko's counsel, James C. Schwartzman, Esq. has not and will not allow any
                                  interference with his independent professional judgment or the client-lawyer relationship in representing his
                                  client.

                                  5. The prior representation of Witness A and prior and current representation of Luchko by Schwartzman does not
                                  constitute an actual conflict of interest. It does represent a potential conflict of interest; however, the court will
                                  await further developments with reference to whether that potential conflict arises and the extent of such potential
                                  conflict, if it does arise.

                                  6. The representation of a bank in which the Senator has a substantial financial interest by Stevens Lee represents
                                  a potential conflict of interest; however, there are no issues relating to the protection of confidential information
                                  and to the extent that there are any questions of client loyalty, Luchko has knowingly, intelligently and
                                  voluntarily waived any such conflict, which waiver this court accepts.

                                  7. This order is without prejudice to the right of defendant Luchko to petition the court pro se for a change of
                                  counsel if at any time he feels that he is not getting independent professional advice from Schwartzman or that it
                                  is being interfered with, or that Luchko feels that he himself cannot act independently from any other defendant
                            18    or potential defendant as a *18 result of any of the circumstances set forth hereinabove.

                            1     *1




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                                                                                U.S. v. Borgesi
                                                             United States District Court, E.D. Pennsylvania   Oct 11, 2000


                                                                Criminal Action No. 99-0363-07 (E.D. Pa. Oct. 11, 2000)




                                Criminal Action No. 99-0363-07

                                October 11, 2000


                                MEMORANDUM AND ORDER

                                HUTTON, Judge.

                                Presently before this Court are Government's Motion to Disqualify Morris W. Pinsky, Esq. from the
                                Representation of George Borgesi or Any Other Defendant Based Upon Unwaivable Conflict of Interest (Docket
                                No. 299), Morris W. Pinsky's Response to Government's Motion to Disqualify Him From the Representation of
                                George Borgesi (Docket No. 317), Government's Reply to Morris W. Pinsky's Response to Government's Motion
                                to Disqualify Him From Representation of George Borgesi or Any Other Defendant Based Upon Unwaivable
                                Conflict of Interest (Docket No. 321) and hearing held October 4, 2000.

                                I. INTRODUCTION
                                In this Motion, the United States of America seeks the disqualification of Morris W. Pinsky, Esq. ("Pinsky") from
                                the representation of George Borgesi ("Borgesi") or any other defendant in this case because of his numerous and
                                multi-faceted conflicts of interest. Pinsky opposes this Motion and denies he has any unwaivable real or potential
                                conflict of interest.

                                II. DISCUSSION
                                The Sixth Amendment to the Constitution guarantees that in all criminal prosecutions, the accused shall enjoy the
                                right to have the assistance of counsel for his defense. See Wheat v. United States, 486 U.S. 153, 158 (1988);
                                United States v. Voigt, 89 F.3d 1050, 1074 (3rd Cir. 1999); United States v. Dolan, 570 F.3d 1177, 1180 (3rd Cir.
                                1978). The purpose of providing assistance of counsel is simply to ensure that criminal defendants receive a fair
                                trial and that in evaluating Sixth Amendment claims, the appropriate inquiry focuses on the adversarial process,
                                not on the accused's relationship with his lawyer. See Wheat, 486 U.S. at 159. Thus, while the right to select and
                                be represented by one's preferred attorney is comprehended by the Sixth Amendment, the essential aim of the
                                Amendment is to guarantee an effective advocate for each criminal defendant rather than to ensure that a
                                defendant will inexorably be represented by the lawyer whom he prefers. See id. Thus, the right to counsel is not
                                absolute. See id.

                                A court confronted with and alerted to possible conflicts of interest must take adequate steps to ascertain whether
                                conflicts warrant separate counsel. See Wheat, 486 U.S. at 160. Courts have recognized this concern as a basis to
                                circumscribe the Sixth Amendment right to choose one's own counsel. See id.; United States v. Stewart, 185 F.3d
                                112, 122 (3rd Cir. 1999) (affirming disqualification of counsel based on conflict of interest); Voigt, 89 F.3d at
                                1073-80 (same). Furthermore, it is immaterial that the conflict be actual or potential. See United States v. Voigt,
                                89 F.3d 1050, 1075. Upon showing of serious potential for conflict, a presumption in favor of a defendant's
                                counsel of choice is overcome and the district court may disqualify counsel. See Wheat, 486 U.S. at 164; United
                                States v. Moscony, 927 F.2d 742, 749-50 (3rd Cir. 1991). One such situation where a conflict arises is where a
                                lawyer contacts a person implicated as a coconspirator with his own client to persuade that person not to
                                cooperate with authorities. See United States v. Grieg, 967 F.2d 1018, 1020-21 (5th Cir. 1992). Here, a potential
                                conflict of interest, which requires the Court to disqualify Pinsky, involves his contact with Gaetano Scafidi
                                ("Scafidi"). Since 1994, Scafidi has been imprisoned. See Government's Reply Brief at 15. He is serving a federal
                                prison sentence for RICO and Hobbs Act extortion. Scafidi has admitted that he is a "made" member of the
                                Philadelphia La Cosa Nostra family and that he has committed many crimes in furtherance of the conduct of the
                                affairs of the criminal enterprise. He has also advised that he and Borgesi were long time associates of the
                                organization. See id. at 15-16.




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                                As a mob war flared in 1993 between the Natale/Merlino faction and the faction loyal to the then boss John
                                Stanfa, Scafidi became concerned that members of the Natale/Merlino faction, to which he belonged, did not
                                trust him and were preparing to kill him. Accordingly, he defected to the Stanfa side. After this defection Scafidi
                                survived several attempts to kill him before he was arrested and imprisoned.

                                As Scafidi was drawing near the completion of his sentence in early 2000, he concluded that he was still likely to
                                be killed by the residue of the Merlino faction that was still on the street. This residue included his former friend
                                Borgesi. Scafidi then informed the government that he was interested in cooperating. Accordingly, he was
                                transported via writ to testify before the federal grand jury sitting in the district. This resulted in his being moved
                                from FCI Schuylkill to the Bucks County Prison.

                                Mr. Pinsky went to the Bucks County Prison to see Scafidi. Pinsky's actions in visiting Scafidi at the Bucks
                                County Prison were done without requesting or receiving permission from Scafidi's lawyer, Christopher G.
                                Furlong, Esq. According to Scafidi, Pinsky visited him and assured him that Borgesi held no animosity toward
                                him and it would be safe for him to return home. See id. at 18. Pinsky also gave a letter from Borgesi, allowed
                                him to read it and then took it back. See government's Motion to Disqualify Morris W. Pinsky, Esq., exhibit F.
                                Pinsky also offered him $100 from Borgesi, which he refused. This contact raises the potential conflict of interest
                                because Pinsky's conduct suggests that Pinsky tried to influence either Scafidi's testimony before the grand jury
                                or Scafidi's decision to cooperate with the federal authorities.

                                Another potential conflict arises whenever an attorney's loyalties are divided. See Moscony, 927 F.2d at 710.
                                Here, Pinsky's loyalties are divided between Ralph Natale ("Natale"), an individual Pinsky represented in
                                conjunction with a 1973 murder and his present client Borgesi. At oral argument, Pinsky asserted that he "did not
                                represent Natale relative to the McGreal homicide" in 1973. See Record at 12. Contrary to Pinsky's assertion that
                                he represented the union, rather than Natale, a police report of the investigation of McGreal's murder noted that
                                the police interview of Natale took place at Pinsky's law office, in his presence and the primary focus of the
                                interview of Natale was McGreal's murder. See Government's Motion to Disqualify Morris W. Pinsky, exhibit A.
                                Thus, the Court concludes that Pinsky had represented Natale at that police interview as a possible criminal
                                defendant. Pinsky's access to privileged information is conclusively presumed. See United States v. Provenzano,
                                620 F.2d 985, 1005 (3rd Cir. 1980).

                                In conjunction with his May 2000 guilty plea to RICO Conspiracy, Natale admitted that he committed the 1973
                                murder of McGreal. See Government's Reply at 6. As a cooperating government witness, if Natale is called as a
                                witness, Pinsky would be under a duty to cross examine Natale. Natale has indicated he has not waived his
                                attorney-client privilege relating to past representation by Pinsky. See Government's Motion to Disqualify Morris
                                W. Pinsky, at 15. These facts demonstrate a potential conflict between Pinsky's duty to keep his former client
                                Natale's confidences and his duty to his current client, Borgesi, to vigorously cross examine Natale. In that event,
                                an attorney who cross examines a former client inherently encounters divided loyalties. See Moscony, 927 F.2d at
                                750. Accordingly, Pinsky must be disqualified based on this conflict of interest.

                                In spite of any actual or potential conflict, Pinsky has asserted that his client would waive any conflict of interest.
                                See Record at 24, 44. The Court notes, however, that it may decline a proffer of waiver by the defendant. See
                                Wheat, 486 U.S. at 163. The United States Supreme Court has stated that the district court must be allowed
                                substantial latitude in refusing waivers of conflicts of interest not only in those rare cases where an actual conflict
                                may be demonstrated before trial, but in the more common cases where a potential for conflict exists which may
                                or may not burgeon into an actual conflict as the trial progresses. See id. A waiver does not resolve the conflict of
                                interest because the district court has an institutional interest in protecting the truth-seeking function of the
                                proceedings over which it is presiding by considering whether the defendant has effective assistance of counsel,
                                regardless of any proffered waiver. See Moscony, 927 F.2d at 749. This is true even if the conflict is potential. See
                                id. at 750.

                                Thus, despite Pinsky's proffer that his client would waive any conflict of interest, the Court concludes that
                                because the potential for conflict exists which may or may not burgeon into an actual conflict as the trial
                                progresses, the waiver is rejected.

                                III. CONCLUSION
                                The Court thus concludes that Morris W. Pinsky must be disqualified from representing George Borgesi or any
                                other defendant based on an unwaivable conflict of interest.

                                An appropriate Order follows.

                                ORDER
                                AND NOW, this 11th day of October, 2000, upon consideration of Government's Motion to Disqualify Morris W.
                                Pinsky, Esq. from the Representation of George Borgesi or Any Other Defendant Based Upon Unwaivable
                                Conflict of Interest (Docket No. 298), Morris W. Pinsky's Response to Government's Motion to Disqualify Him
                                As Counsel for Defendant George Borgesi (Docket No. 313), Government's Reply to Morris W. Pinsky's




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                                Response to Government's Motion to Disqualify Him From Representation of George Borgesi or Any Other
                                Defendant Based Upon Unwaivable Conflict of Interest (Docket No. 322) and the arguments of counsel held at a
                                hearing on October 4, 2000, IT IS HEREBY ORDERED that said Motion is GRANTED.




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